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Information to identify the case:
Debtor 1              Mark Doherty                                              Social Security number or ITIN   xxx−xx−9562
                      First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2              Susan Boyle                                               Social Security number or ITIN   xxx−xx−3507
(Spouse, if filing)
                      First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−19−47724−nhl



Order of Discharge and Final Decree                                                                              Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Mark Doherty                                                Susan Boyle




IT IS FURTHER ORDERED:

        • Lori Lapin Jones (Trustee) is discharged as trustee of the estate of the above−named debtor(s)
          and the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                    BY THE COURT

Dated: April 9, 2020                                                s/ Nancy Hershey Lord
                                                                    United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE

      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

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